   Case: 1:19-cr-00226 Document #: 250 Filed: 02/25/21 Page 1 of 67 PageID #:1490



                                                                              FIL5E/2D
                                                                                     021
                                                                                                     PJ
                               UNITED STATES DISTRICT COURT                        2/2
                               NORTHERN DISTRICT OF ILLINOIS                               . BRUTO    N
                                                                                 THOMA.SDG  T R IC T COURT
                                     EASTERN DIVISION                         CLERK, U.S
                                                                                         IS


 UNITED STATES OF AMERICA                         )    No. 19 CR 226
                                                  )
                    V.                            )    Judge Virginia M. Kendall
                                                  )   Magistrate Judge Sunil R. Harjani
 ROBERT M. KOWALSKI,                              )    Violations: Title 18, United States
 JAN R. KOWALSKI,                                 )   Code, Sections 152(1) and (8),
 ROSALLIE C. CORVITE,                             )    157(1), (2), and (3), 371, 656 and
 JANE V. IRIONDO, fka JANEV. TRAN,                )   1005, and Title 26, United States
 ALICIA MANDUJANO,                                )    Code, Sections 7203 and 7206(1)
 CATHY M. TORRES,                                 )
 JAMES R. CROTTY,                                 )   Third Superseding Indictment
 BOGUSLAW KASPROWICZ,                             )
 MIROSLAW KREJZA, and                             )
 MAREK MATCZUK                                    )

                                          COUNT ONE

       The SPECIAL MAY 2019 GRAND JURY charges:

       1.      At times material to this Count:

               a.        Washington Federal Bank for Savings (Washingt�n Federal) was a savings

association that was founded in 1913 and located in Chicago� Illinois. In or around December

2017, the Office of the Comptroller of the Currency (OCC) determined that Washington Federal

was insolvent and that it had at least approximately $66 million in nonperforming loans. On or

about December 15, 2017, the OCC closed Washington Federal and the Federal Deposit Insurance

Corporation (FDIC), as a receiver, succeeded to all of Washington Federal's interests. The FDIC

provided approximately $90 million to make account holders whole to the extent allowed by law.

               b.        Beginning in or around 1989, the deposits of Washington Federal were

insured by the FDIC. Consequently, Washington Federal was subject to supervision by federal

and state regulators and to the laws and regulations enacted to ensure the safety and soundness of

the banking system. These laws and regulations required that Washington Federal create and
    Case: 1:19-cr-00226 Document #: 250 Filed: 02/25/21 Page 2 of 67 PageID #:1491




maintain comprehensive documentation of a bortower's ability to rcpay a loan, the value of the

collateral in the event of default, and the steps taken to perfect its legal position regarding the

borrower and the collateral. Among other things, the required standard documentation, as it

related to loans secured by real property, included   a   promissory note, containing   a   promise to repay

and the terms of repayment, and a security agreement, such as a mortgage, giving the bank an

interest in the collateral. The promissory note was to be maintained by the bank and the mortgage

recorded as   a lien, thereby preventing the conveyance of the property without the bank's

knowledge.

,              c.      Washington Federal was required            to   regularly provide      to the FDIC
documentation of its financial condition, including Call Reports setting out, among other things,

the performance of the bankis loan portfolio and the bank's income.

               d.      From in or around 2071, Washington Federal was supervised by the OCC

which regularly monitored and conducted periodic examinations of the operations of Washington

Federal. The OCC reviewed and relied on loan documentation and other records Washington

Federal was required    to contemporaneously create during the course of its                operations, and

documents that Washington Federal created for the purpose of providing them to the OCC and the

FDIC, such as the CaIl Reports and trial loan balances, which disclosed delinquencies, compliance

with lending limitations, and loan histories.

               e.      Washington Federal was a member of the Federal Home Loan Bank of

Chicago (FHLB) and both had a line of credit with the FHLB for which Washington Federal loans

served as collateral, and sold loans to the FHLB which Washington Federal continued to service.

The FHLB periodically required Washington Federal to provide a list of loans serving as collateral



                                                 2
  Case: 1:19-cr-00226 Document #: 250 Filed: 02/25/21 Page 3 of 67 PageID #:1492




for the line of credit and documentation concerning those loans.

                       Individual A was President, Chief Executive Officer, and Chairman of the

Board of Directors of Washington Federal, and had an ownership interest in and engaged in the

acquisition of real estate through Grom Development LLC.

               e.      Defendant ROBERT M. KOWALSKI was an attorney licensed in the State

of Illinois, with offices at 1918 West Cermak Road, Chicago, Illinois, who engaged in          the

investment in and construction, management, acquisition and sale of real property individually and

through entities with which he was associated, including Indomitable LLC, Piorun Properties T.LC,

Burros Blancos LLC, Mountain Duck Properties LLC, Fulton Market Lofts LLC, and Grom

Development LLC.

               h.      Defendant BOGUSLAW KASPROWICZ had an ownership interest in and

engaged in the acquisition of real estate through Thomas Development Co., Inc.

               i.      Defendant MIROSLAW KREJZA had an ownership interest                in   and

engaged in the acquisition of real estate through   M & R Development, Inc.

               j.      Defendant MAREK MATCZUK had an ownership interest in Mark M

Group,lnc.

               k.     Defendant JAMES R. CROTTY was employed by Washington Federal in

positions which included Vice President.

               l.     Defendant ROSALLIE            C. CORVITE was employed by       Washington

Federal in positions which included Chief Financial Officer and Treasurer.

               m.     Defendant JANE       V. IRIONDO, fka JANE V. TRAN, was employed by

Washington Federal in positions which included Corporate Secretary.
  Case: 1:19-cr-00226 Document #: 250 Filed: 02/25/21 Page 4 of 67 PageID #:1493




                 n.     Defendant CATHY M. TORRES was employed by Washington Federal in

positions which included loan officer.

                 o.     Defendant ALICIA MANDUJANO was employed by Washington Federal

in positions which included loan servicer.

                 p.     Individual B was a member of Washington Federal's Board of Directors.

                 q.     Individual C had an ownership interest inand engaged in the acquisition of

real estate through entities with which he was associated, including Market Street Properties LLC,

Sheffield Development Company, and Grom Development LLC.

                 2.     Beginning in or around at least 2A04 andcontinuing rurtil in or around 2018,

at Chicago, in the Northern District of Illinois, and elsewhere,

                                  ROBERT M. KOWALSKI,
                                   ROSALLIE C. CORVITE,
                             JANE V, IzuONDO, fka JANE V. TRAN,
                                   ALICIA MANDUJANO,
                                     CATHY M. TORRES,
                                      JAMES R. CROTTY,
                                 BOGUSLAW KASPROWCZ,
                                  MIROSLAW KREJZA, and
                                     MAREK MATCZIIK)

defendants herein, together with Individuals   A and C, and persons known and unknown to the

grand   jury, did knowingly conspire to commit the following violations:
  Case: 1:19-cr-00226 Document #: 250 Filed: 02/25/21 Page 5 of 67 PageID #:1494




                                     Objects of the Conspiracv

            (a) To knowingly make false entries in the books, reports, and statements of a bank,

               the deposits of which were insured by the FDIC, with intent to injure and defraud

               the bank and to deceive the OCC and the FDIC, in violation of Title 18, United

               States Code, Section 1005; and

            (b) Being an officer, director, agent, or employee of, or connected in any capacily to a

               bank, the deposits of which were insured by the FDIC, with intent to injure and

               defraud the bank,   to   embezzle, abstract, purloin, and   willfully misapply moneys,

               funds, and credits of the bank and moneys, funds, assets, and securities intrusted to

               the custody and care of the bank, in violation of Title 18, United States Code,

               Section 656.

                                   Overview of the Conspiracy

       3.      It   was part   of the conspiracy that defendants      ROBERT       M.   KOWALSKI,

ROSALLIE C. CORVITE, JANE V. IzuONDO, fKa JANE V. TRAN, ALICIA MANDUJANO,

CATHY M. TORRES, JAMES R. CROTTY, BOGUSLAW KASPROWICZ, MIROSLAW

KREJZA, and MAREK MATCZUK, along with Individuals A and C, and others, embezzled and

concealed the embez.zlement of at least approximately $31 million of and in the custody of

Washington Federal and distributed the money to and for the benefit of defendants ROBERT M.

KOWALSKI, KASPROWICZ,KREJZA, and MATCZIJK,Individuals A and C, and others.

      4.       It was further part of the conspiracy that defendants ROSALLIE C. CORVITE,

JANE V. IRIONDO, fka JANE V. TRAN, ALICIA MANDUJANO, CATHY M. TORRES; and

JAMES R. CROTTY, along with Individual            A,   embezzfed money      of and in the custody of
    Case: 1:19-cr-00226 Document #: 250 Filed: 02/25/21 Page 6 of 67 PageID #:1495




Washington Federal      by   transferring money     to   defendants ROBERT     M.   KOWALSKI,

BOGUSLAW KASPRO\MCZ, MIROSLAW KREJZA, and MAREK MATCZUK, Individual C,

and others, including without the required documentation and often without any documentation,

and concealed the embezzlerrye,nt from the FDIC, the OCC, and others by   falsiffing bank records.

        5.     It was frrther part of the conspiracy that defendants ROSALLIE C. CORVITE,

JANE V. IRIONDO, fka JANE V. TRAN, ALICIA MANDUJANO, and JAMES R. CROTTY,

along with Individual   A   and others, made and caused false entries in the books, reports, and

statements of Washington Federal to facilitate and accomplish   the embezAement of mon", of *a

in the custody of Washington Federal for the benefit of defendants ROBERT M. KOWALSKI,

BOGUSLAW KASPR OWICZ,MIROSLAW KREJZA, and MAREK MATCZIIK, Individuals A

and C, and others.

        6.     It was further part of the conspiracy that defendants ROSALLIE C. CORVITE,

JANE V. IRIONDO, fka JANE V. TRAN, ALICIA VIANDUJANIO, CATHY M. TORRES, and

JAMES R. CROTTY, along with Individual A and others, made and caused false entries in the

books, reports, and statements of WashingtonFederal   withintentto injure and defraud Washington

Federal and to deceive the OCC and the FDIC by concealing the embezzfement of money of and

in the custody of Washington Federal for the benefit of defendants ROBERT M. KOWALSKI,

B   OGU SLAW KASPRO WICZ, MIRO         S   LAW KREJZA,    and MARE   K }/tAT CZUK, Individuals A

and C, and others.

        7.     It was further part of the conspiracy that defendants ROSALLIE C. CORVITE,

JANE V. IRIONDO, fka JANE V. TRAN, ALICIA MANDUJANO, CATHY M. TORRES, and

JAMES R. CROTTY, along with Individual A and others, made and caused false entries in the


                                                6
  Case: 1:19-cr-00226 Document #: 250 Filed: 02/25/21 Page 7 of 67 PageID #:1496




books, reports, and statements of Washington Federal with intent to injure and defraud Washington

Federal and to deceive the OCC and the FDIC as to the actual financial condition of Washington

Federal, by materially understating the number of delinquent and nonperforming loans, inflating

Washington Federal's income, and inflating the value of the collateral securing Washington

Federal's loans.

                        Manner in Which the Conspiracy was Conducted

   Soliciting and Distributing Embezzled Funds in the Form of Proceeds of Purported Loans

       8.      It was firther part of the conspiracy that defendants ROBERT M. KOWALSKI,

BOGUSLAW KASPRO WICZ,MIROSLAW KREJZA, and MAREK MATCZUK, Individual C,

and others solicited and received embezzled money as the proceeds of purported Washington

Federal loans knowing that certain purported loans were not properly documented and that, with

respect to the loans which had documentation, repayment on the terms of these purported loans

was not expected, and that defendants ROBERT M.    KOWAISKI, KASPROWICZ, KREJZA,             and

MATCZUK, tndividual C, and others did not repay the purported loans on their terms.

       g       It was further pafi of the conspiracy that defendants ROSALLIE C. CORVITE,

JANE V. IRIONDO, fka JANE V. TRAN, ALICIA MANDUJANO, and JAMES R. CROTTY,

along with Individual A and others, embezzled,the money and distributed the money to and for the

benefit of defendants ROBERT M. KOWALSKI, BOGUSLAW KASPROWICZ, MIROSLAW

KREJZA, and MAREK MATCZUK, Individual C, and others, as the proceeds of purported

Washington Federal loans, when in fact repayment on the terms of these purported loans was

neither expected nor made.
  Case: 1:19-cr-00226 Document #: 250 Filed: 02/25/21 Page 8 of 67 PageID #:1497




         10. It was further part of the conspiracy     that defendants ROSALLIE C. CORVITE,

JANE V. IzuONDO, fka JANE V. TRAN, ALICIA MANDUJANO, and CATHY M. TORRES,

along with Individual A and others, fraudulently accounted for and concealed money embezzled

and distributed   to defendants ROBERT M. KOWALSKI,                BOGUSLAW KASPROWTCZ,

MIROSLAW KREJZA, and MAREK MATCZUK, Individual C, and others in the books, reports,

and statements of Washington Federal as distributions from the purported loans from Washington

Federal, including without fully documenting the purported loans and without sufficient or any

collateral.

        11. It was further part of the conspir acy that defendants ROSALLIE           C. CORVITE,

JANE V. IRIONDO, fka JANE V. TRAN, ALICIA MANDUJANO, and JAMES R. CROTTY,

along with Individual   A and others, distributed   embezzled money to defendants ROBERT M.

KOWALSKI, BOGUSLAW KASPROWICZ, MIROSLAW KREJZA, and MAREK MATCZUK,

Individual C, and others in excess and in addition to the principal amounts on notes, on matured

notes, and in excess and in addition to the value of the collateral securing the purported loans.

   Soliciting and Distributing Embezzled Funds in the Form of Chect<s and Wire Transactions

         12.   It was further part of the conspir acy thatdefendants ROBERT M. KOWALSKI,

BOGUSLAW KASPR OWICZ,MIROSLAV/ KREJZA, and MARE KMATCZUK, Individual C,

and others solicited and receive d. entbezzled money in the form of checks drawn on Washington

Federal's operating and loan. disbursement accounts, and wire transfers of funds from those

accounts.

        13. It was further part of the conspir acy that defendants ROSALLIE          C. CORVITE,

JANE V. IRIONDO, fka JANE V. TRAN, ALICIA MANDUJANO, and JAMES R. CROTTY,
  Case: 1:19-cr-00226 Document #: 250 Filed: 02/25/21 Page 9 of 67 PageID #:1498




along with Individual      A, and others, distributed   embezzled money    to and for the benefit of

defendants ROBERT M. KOWALSKI, BOGUSLAW KASPROWCZ, MIROSLAW KREJZA,

and   MAREK MATCZUK, lndividual C, and others in the form of checks drawn on Washington

Federal's operating and loan disbursement accounts, and wire transfers of funds from those

accounts.

            So   liciting and Distributing Embezzled Funds in the Form of Account Credits

          14. It was further part of the conspiracy that defendant ROBERT M. KOWALSKI
solicited and received etfiezzfed money in the form of credits to accounts in the names of Piorun

Properties LLC and Fulton Market Lofts LLC at Washington Federal, which defendant ROBERT

M. KOWALSKI controlled.

          15.      It was firther part of the conspiracy that defendant ALICIA MANDUJANO, along

with Individual A and others, distributed          embez.zled money    to defendant ROBERT        M.

KOWALSKI in the form of credits to accounts in the names of Piorun Properties LLC and Fulton

Market Lofts LLC at Washington Federal, which defendant ROBERT M. KOWALSKI controlled.

                            Embezzled Fundsfor the Benefit of Individual A

          16.       It was further part of the conspiracy thatdefendants ROBERT M. KOWALSKI

and BOGUSLAW KASPROWICZ,Individual C, and others used at least approximately $1.8

million   in embezzled   money for the benefit of Individual A, including the purchase of real estate

and a Sea Ray 420 Sundancer boat named "Expelliarmus" (the Sea Ray boat), and payments on

credit card accounts and other loans in the name of Individual       A or an entity   associated with

Individual A, including Grom Development LLC.
  Case: 1:19-cr-00226 Document #: 250 Filed: 02/25/21 Page 10 of 67 PageID #:1499




                                   The Fulton Market    District Lots

        17   .    It was further part of the conspiracy that, in or around October   2004, defendant

ROBERT M. KOWALSKI, and Individuals A and C, through a trust beneficially owned by Grom

Development LLC, purchased approximately 13 lots in the square block bounded by Halsted, Fulton

Market, Green and Lake Streets in Chicago, which included 803 and 807 West Fuiton Market (the

Fulton Market Dishict Lots), for approximately $6 million.

       18.       It was further part of the conspiracy that defendant ROBERT M. KOWALSKI, and

Individuals A and C, through atrust beneficially owned by Grom Development LLC, purchased the

Fulton Market District Lots with approximately $4.55 mitlion from Washington Federal through the

simultaneous resale of aportion of the Fulton Market District Lots to buyers who received financing

from Washington Federal, including two $ 1,050,000 loans to Piorun LLC and Sheffield Development

Company, respectively

       19.       It was firther part of the conspiracy that, in or around 2008, defendant ROBERT M.

KOWALSKI and Individuals          A   and   C   caused Bank   A to loan Grom Development       LLC

approximately $1.6 million secued by certain Fulton Market District Lots, which resulted in

defendant ROBERT M. KOWALSKI and Individuals             A and C each receiving $500,000 of the loan

proceeds.

       20.       It was fi.rther part of the conspiracy that, in or around 2010, defendant JAMES R.

CROTTY, Individual A, and others solicited and caused to be solicited over $1.8 million to be

deposited on account as certificates     of     deposit at Washington Federal for the purpose of

embezzhngand distributing this money to honor Washington Federal letters of credit to Bank A




                                                   10
  Case: 1:19-cr-00226 Document #: 250 Filed: 02/25/21 Page 11 of 67 PageID #:1500




for the benefit of entities associated with defendant ROBERT M. KOWALSKI, Individual C, and

others.

          21.   It was further part of the conspiracy that, in or around 2010, defendant ROBERT M.

KOWALSKI and Individual Aembez*ed approximately $1.3 million, inctuding money on account

as certificates of deposit at Washington Federal, in the form of payments to Bank     A to honor letters

of credit securing financing related to certain Fulton Market District Lots, including for the benefit   of

defendant ROBERT M. KOWALSKI, Indiviqud C, Piorun Properties LLC, Sheffield Development

Company, and others.

          22.   It was further part of the conspiracy that, in or around 2071, defendant ROBERT M.

KOWALSKI and krdividual       A   embezAed approximately $400,000 from Washington Federal in the

form of payments to Bank A to honor letters of credit securing financing related to certain Fulton

Market District Lots, including for the benefit of defendant ROBERT M. KOWALSKI, lndividual

C, Piorun Properties LLC, and Sheffield Developme.nt Company.

          23.   It was further part of the conspiracy that, in or around 2011, defendant ROBERT M.

KOWALSKI and Individuat O"*6szz.1ed approximately $330,000 from Washington Federal in the

form of payments to Bank A to pay offfinancing related to a Fulton Market District Lot, including

for the benefit of defendant ROBERT M. KOWALSKI, Individuals A and C, and Grom Development

LLC.

          24.   It was further part of the conspiracy that, in or arorurd 2013, defendant ROBERT

M. KOWALSKI and Individuals A and C               used approximately $560,0      00   embezzled from

Washington Federal to make a nominee purchase of 807 West Fulton Market Street from the

bankruptcy trustee of Market Street Properties LLC, afterlndividual C, the sole owner of Market


                                                  11
 Case: 1:19-cr-00226 Document #: 250 Filed: 02/25/21 Page 12 of 67 PageID #:1501




Street Properties LLC, had successfully concealed from the bankruptcy trustee that Market Street

Properties LLC also owned 803 West Fulton Market Street and that Washington Federal was a

creditor of Market Street Properties LLC.

                   Purchase of the Powerboat "Expelliarmus" with Embezzled Funds

        25.       It was further part of the conspiracy that, in or around   2007   , defendant ROBERT

M. KOWALSKI and Individuals A and C purchased the Sea Ray boat for approximately $450,000,

including using (a) fundq embezzledfrom Washington Federal through purported loans to land

trusts beneficially owned by Sheffield Development Company on which payments were not made

as required,    which were purportedly secured by vacant lots in the 7500 and 7600 blocks of West

64th Street in Summit, Ilinois, and (b) a loan from Bank B on which payments were made using

funds embezzled from Washington Federal.

       26.        It was further part of the conspiracy that, in or around 2008, Individuals A and C

"refinanced" purported Washington Federal loans used to purchase the Sea Ray boat into a single

$160,000 loan from Washington Federal           to a land trust beneficially owned by            Sheffield

Development Company on which lndividual C did not make payments as purportedly required,
                                                                                    'West
and which was purportedly secured by a vacant lot on the 7500 block of                      64th Street in

Summit, Illinois.

                        Paying Indjvidual A's Accounts with Embezzled Funds

       27   .      It was further part of the conspiracy that defendant BOGUSLAW KASPROWICZ

used at least approximately $1.6    millioninembezzled money for the benefit of Individual A by

using embezzled funds to make payments on credit card accounts and other loans in the name             of




                                                  t2
  Case: 1:19-cr-00226 Document #: 250 Filed: 02/25/21 Page 13 of 67 PageID #:1502




Individual A or an entity associated with Individual A, and payments to Bank B for the loan for

the purchase of the Sea Ray boat.

                          Paying Litigation Expenses With Embezzled Funds

          28.    It was further part of the conspiracy that defendant ROBERT M. KOWALSKI and

Individuals A and C, in order to pay an appeal bond posted by Insurance Company A on behalf of
                                                                  :


defendant ROBERT M. KOWALSKI and Individual              C,   embe;zzled approximately $655,000   from

Washington Federal in the form of loans to Individual C and to Indomitabl eLLC,purportedly secwed

by properties which were either not owned by the borrower or inflated iir value, including the same

vacant lot in the 7500 block of 64th Street in Summit, Ilinois, which had been used     in entbezdng

money to purchase the Sea Ray boat.

                Concealing NonPerforming Loans of Non-Embezzling Bank Customers

         29.     It was further part of the conspiracy that for the purpose of concealing the financial

condition of Washington Federal, defendant ROBERT M. KOWALSKI, along with Individual A,

concealed nonperforming loans of non-emb ezzhngbank customers by fraudulently causing those

bank customers to enter into what was represented to be deed in lieu of foreclosure transactions

with Washington Federal that would extinguish the bank customers' liability on their respective

loans.   In reality,   defendant ROBERT     M. KOWALSKI and Individual A            caused the bank

customers' properties serving as collateral for nonperforming loans to be transferred, not to

Washington Federal, but to entities controlled by defendant ROBERT M. KOWALSKI, while the

bank customers' nonperforming loans remained on Washington Federal's books, which were

fatsified to conceal that the loans were nonperforming.




                                                  13
  Case: 1:19-cr-00226 Document #: 250 Filed: 02/25/21 Page 14 of 67 PageID #:1503




                                      Emb ezzl ing   B   ank   C oll at er al


        30. It was further part of the conspiracy that defendant                ROBERT M. KOWALSKI,

along with Individual       A, caused   properties that were collateral         for other bank customers'

nonperforming loans, including properties on S. Vincennes Avenue, Chicago, Illinois, to be

transferred to entities controlled by defendant ROBERT M. KOWALSKI, and concealed such

transfers, which properties defendant ROBERT M. KOWALSKI retained for his own benefit.

        31. It was further part of the. conspir acy that defendant              ROBERT M. KOWALSKI,

along with Individual A, caused rental income from properties which was collateral for other bank

customers' nonperforming loans to be transferred to entities controlled by defendant ROBERT M.

KOWALSKI, who used these funds for his own benefit, which funds included Housing Choice

Voucher Program payments, including for tenants residing at properties on S. Vincennes Avenue,

Chicago, Illinois.

                      Fatsifying Internal Bank Records to Conceal Embezzlement

        32.     It was filther part of the conspiracy that defendants JANE V. IzuONDO, fka JANE

V. TRAN, ALICIA MANDUJANO, CATHY M. TORRES, and JAMES R. CROTTY, along with

Individual   4 *d    others, fraudulently created false notes, loan modification agreementg, and other

loan documents to make it appear that the purported loans under which money embezzied from

Washington Federal was distributed to defendants ROBERT M. KOWALSKI, BOGUSLAW

KASPROWICZ, MIROSLAW KREJZA, and MAREK MATCZUK, Individual C, and others

were properly documented.

        33.    It was furtherpart of the conspiracy that defendants JANE V. IRIONDO, fka JANE

V. TRAN, CATHY M. TORRES, and JAMES R. CROTTY, along with Individual A, fraudulently


                                                     t4
  Case: 1:19-cr-00226 Document #: 250 Filed: 02/25/21 Page 15 of 67 PageID #:1504




altered appraisals to inflate the valuation of property for the purpose of making       it   appear in

Washington Federal's records that the property provided sufficient collateral for purported loans

for the benefit of defendant ROBERT M. KOWALSKI and others.

          34.   It was further part of the conspiracy that defendants JANE V. IRIONDO, fka JANE

V. TRAN, CATHY M. TORRES, and JAMES R. CROTTY, along with Individual A and others,

made faise entries aqd documents      in Washington Federal's records to support insider        loans,

including to Individual B.

          35.   It was furtherpart of the conspiracy that defendants ROSALLIE C. CORVITE and

ALICIA MANDUJANO, along with Individual A, advanced and caused to be advanced interest

payments on the purported loans       to   defendants ROBERT       M. KOWALSKI, BOGUSLAW
KASPROWICZ, MIROSLAW KREJZA, and MAREK MATCZUK, Individual C, and others in

order to make   it   appear that the purported loans were performing, and then added the amount

advanced to the balance of the purported loans.

       36.      It was firther part of the conspiracy that defendants ROSALLIE C. CORVITE and

ALICIA MANDUJANO, along with Individual A              and others, embezzfedmoney from Washington

Federal and used the money to pay the real estate taxes on the properties associated with defendants

ROBERT      M. KOWALSKI, BOGUSLAV/ KASPROWICZ, MIROSLAW KREJZA,                                  ANd


MAREK MATCZUK, Individual C, and others, and then added the amount advanced to the

balance   of purported loans, which defendants ROBERT M. KOWALSKI, KASPROWICZ,

KREJZA, and MATCZIJK, and Individual C, were not expected to and did not repay.

       37.      It was further part of the conspiracy that defendants ROSAILIE C. CORVITE and

ALICIA MANDUJANO, along with Individual A and others, accounted and caused to                     be


                                                  l5
  Case: 1:19-cr-00226 Document #: 250 Filed: 02/25/21 Page 16 of 67 PageID #:1505




accounted for embezzfed firnds by including them in the balance of purported loan accounts, even

though payment was not expected or made, for the purpose of disguising the nature and extent         of

the embezAement.

        38.     It was further part of the conspiracy that defendants ROSALLIE C. CORVITE and

ALICIA MANDUJANO, along with Individual A                4nd others, periodically rebalanced and caused

to be rebalanced the amounts of the embezzled funds athibuted to purported loans and loan

accounts in order to conceal the nature and extent of the embezzlement, and the amounts received

by defendants ROBERT M. KOWALSKI, MIROSLAW KREJZA, and MAREK MATCZIIK,

Individual C, their related entities, and others.

        39.     It was further part of the conspiracy that defendants ROSALLIE C. CORVITE and

ALICIA MANDUJANO, along with lndividual A and others, accounted for interest payments

advanced   to the purported loans and certain nonperforming loans by adding those payment

amounts to the principal balance of the loan accounts.

        40.    It was firtherpart of the conspiracy that defendants ROSALLIE C. CORVITE and

ALICIA MANDUJANO, along with Individual A                and others, entered into the books and records

of Washington Federal as income the interest payments made on the purported loans througlr the

advancing of payments, which caused the bank's income to be inflated in the bank's books and

records, concealing Washington Federal's true financial condition.

        Falsifuing Records Provided to Consultants, the OCC, the FDIC, and the FHLB

       41. It was further part of the conspiracy that defendant ROSALLIE C. CORVITE,
along with Individual   A   and others, provided and caused to be provided to consultants false

information regarding loans, including to Consultant A, whose reports were provided to the OCC


                                                    t6
  Case: 1:19-cr-00226 Document #: 250 Filed: 02/25/21 Page 17 of 67 PageID #:1506




dwing examinations, which loan information was false in that maturity dates of loans were altered

to conceal that the purported loans to defendant ROBERT M. KOWALSKI and others were not

performing.

        42.    It was further part of the conspiracy that defendants JANE V. IRIONDO, fka JANE

V. TRAN and JAMES R. CROTTY, along with Individual A and others, provided false loan lists

to the FHLB for the purpose of pledging collateral for financing from the FHLB, which loan lists

included false borrower identities and payment histories.

        43.    It was furtherpart of the conspiracy that defendants ROSALLIE C. CORVITE and

ALICIA MANDUJANO, along with Individual A           and others, provided and caused to be provided

false Call Reports to the FDIC, which Call Reports included schedules that omitted and concealed

delinquent loans, including the purported loans      to   defendants ROBERT     M. KOWALSKI,
BOGUSLAW KASPROWICZ, MIROSLAW KREJZA, and MAREK MATCZUK, Individual C,

and others, and inflated the bank's income.

       44. It was further part of the conspiracy      that defendant JAMES R. CROTTY, along

with Individual A, falsely represented that Washington Federal could not provide a trial loan

balance generated from the bank's bookkeeping system as requested by the OCC, and that

defendants ROSALLIE C. CORVITE, JANE            V. IRIONDO, fka tNE V. TRAN, ALICIA
MANDUJANO, and CATHY M. TORRES, and others, provided and caused to be provided false

trial loan balances to the'OCC, which trial loan balances contained false information about

Washington Federai's loans, including the identity of the borrower, fictitious loan balances, and

payment histories, and omitted purported loans associated with defendants ROBERT M.




                                               t7
  Case: 1:19-cr-00226 Document #: 250 Filed: 02/25/21 Page 18 of 67 PageID #:1507




KOWAL SKI,      B O GU   SLAW KASPROWICZ, MIRO SLAW KREJZA, and MAREK MATCZUK,

Individual C and others.

         45.    It was further part of the conspiracy that defendants ROSALLIE C. CORVITE,

JANE V. IRIONDO, fka JANE V. TRAN, ALICIA MANDUJANO, CATHY M. TORRES, and

JAMES R. CROTTY, along with Individual A and others, altered and caused to be altered internal

loan docurnents, including appraisals, prior to the review of those documents by examiners from

the OCC.

        46.     It was further part of the conspiracy that defendants ROBERT M. KOWALSKI,

ROSALLIE C. CORVITE, JANE V. IRIONDO, fKa JANE V. TRAN, ALICIA MANDUJANO,

CATITY M. TORRES, JAMES R. CROTTY, BOGUSLAW KASPROWICZ, MIROSLAW

KREJZA, and MAREK MATCZLIK, along with Individuals                       A and C, and others, did
misrepresent, conceal and hide, and cause to be misrepresented, concealed and hidden, acts done

in firrtherance of the conspiracy and the purposes of those acts.

                                               Overt Acts

        47.     In firrtherance of the conspiracy, and to accomplish the objectives of the conspiracy,

defendants ROBERT M. KOWALSKI, ROSALLIE C. CORVITE, JANE V. IRIONDO, fka JANE

V. TRAN, ALICIA MANDUJANO, CATHY M. TORRES, JAMES R. CROTTY, BOGUSLAW

KASPROWICZ, MIROSLAW KREJZA, and MAREK MATCZUK, and Individual C committed

one or more overt acts in the Northern District of Illinois, including the following:

                a.       On or about July 13, 2007, defendant ROBERT M. KOWALSKI caused

Washington Federal to issue a $190,000 checkpayable to Individual C for use as a down payment for

the purchase of the Sea Ray boat.



                                                   18
  Case: 1:19-cr-00226 Document #: 250 Filed: 02/25/21 Page 19 of 67 PageID #:1508




                b.     On or about July 13, 2007, defendant ROBERT M. KOWALSKI                       and

Individuals A and C each signed a retail installment contract to obtain approximately $250,000 in

financing to purchase the Sea Ray boat.

                c.     On or about June 12, 2009, defendant ALICIA MANDUJANO, at ttre

direction of Individual A, embezzled funds in the form of a check drawn on a Washington Federal

operating account in the amount of approxim ately $19,570 and payable to the Cook County Collector

for payment of real   estate taxes      on a property beneficially owned by defendant BOGUSLAW

KASPROWI CZ,whichdefendant KASPROWIC Zwasnot expected to and did not repay.

                d.     On or about October 18,2011, defendants JANE V. IzuONDO, fka JANE

V. TRAN, and CATHY M. TORRES altered and caused to be altered appraisals for two properties

owned by Individual B, which served as collateral for two mortgages at Washington Federal.

Specifically, on that date, defendant IRIONDO sent an email to defendant TORRES with the two

altered appraisals attached, with a note that stated,       "Hi Cathy, Here are the findividual B]
appraisals.   Please let me know   if   any of these look dwkward and I   will fix it. - Jane." The false

items on the altered appraisals include inflated appraisal values and inflated values for the listed

comparable sales.

               e.     On or about May 10, 2072, defendant ALICIA MANDUJANO, at the

direction of Individual A, embezzled funds in the form of a check drawn on a Washington Federal

operating accowrt in the amount of approximately $74,086 and payable to the Cook County Clerk

for payment of real estate taxes on a properly beneficially owned by defendant MAREK

MATCZUK, which defendant MATCZUK was not expected to and did not repay.




                                                   t9
  Case: 1:19-cr-00226 Document #: 250 Filed: 02/25/21 Page 20 of 67 PageID #:1509




                   f.     On or about September 19, 2072, defendant JAMES R. CROTTY falsely

represented on behalf of Washington Federai to the FHLB that               "all loans pledged as collateral

meet the   eligibility requirements"     and that the loan data supplied to the   FHLB was accurate, when

in fact the data was not accurate and certain Washington Federal loans pledged as collateral were

delinquent and thus did not meet eligibility requirements.

                   g.     On or about December 7,2012. defendant MIROSLAW KREJZA solicited

and receivedembezzled funds in the form of a check drawn on a Washington Federal operating

account in the amount of approximately $18,000 and payable to M&R Development, which

defendant.KRElZAwas not expected to and did not repay.

       '          h.      On or about May 30, 2013, defendant ROSALLIE CORVITE sent and

caused to be sent to Consultant    A    an email   which falsely represented the maturity dates of a number

of loans related to defendeint ROBERT M. KOWALSKI.

                  i.      On or about June 1 8,2Ol3 during an examination by the OCC, defendant

JANE V. IRIONDO, fka JANE V. TRAN, sent an email to defendants CATHY M. TORRES and

JAMES R. CROTTY, which stated, in part, "Please see attached. I cannot fix the 'supplemental

Addendum' pages. Those           will   need   to be done with scissors and copier. The interior photos

are   fixed."   Attached to the email was an appraisal for aproperty on S. Vincerrnes Avenue, which

was beneficially owned by dgfendant ROBERT M. KOWALSKJ, in which a number of items on

the appraisal had been fraudulently altered, including the date of the appraisal, the interior

photographs ofthe property, the value of comparable properties, and the appraised value.

                  j.     On or about June 18, 20!3, defendant JANE V. tzuONnO, fka JANE V.

TRAN, sent      a second email   to defendants CATHY M. TORRES and JAMES R. CROTTY, which


                                                       20
  Case: 1:19-cr-00226 Document #: 250 Filed: 02/25/21 Page 21 of 67 PageID #:1510




stated,   in part, "Please see attached with corrections and disregard previous appraisal         sent."

Attached to this email was a second altered appraisal for a property on S. Vincennes Avenue, with

additional alterations in the supplemental addendum to inflate the value of comparable sales.

                k.          On or about June 19, 2013, defendant CATHY M. TORRES sent an email

to Individual A and JAMES R. CROTTY, which stated, in part, that "Jim, The [OCC] auditors

need both [Vincennes] files back tomorrow."

                L           On or about June 20, 2013, defendant JAMES R. CROTTY created a record

indicating that the OCC had reviewed the Vincennes loan file with the altered appraisal.

                m.          On or about October      l,   2014, defendant ROBERT      M. KOWALSKI
solicited and receive   d   embezzled funds   in the form of a $ 100,000 transfer into a bank account at

Washington Federal in the name of Piorun Properties LLC, for the benefit of defendant ROBERT

M. KOWALSKI, which defendant ROBERT M. KOWALSKI was not expected to and did not

repay.

                n.      On or about November 26,2014, defendant JAMES R. CROTTY falsely

represented to the OCC that Washington Federal could not produce a system generated           trial loan

balance as requested by the OCC.

                o.      On or about February 27,2015, defendant      ALICIA MANDUJANO reduced

the principal amount of two of defendant ROBERT M. KOWALSKI's loan accounts by

approximately $2.3 million dollars through accounting entries labeled as "principal only receipts,"

which inflated the principal amount of thirteen other loans related to defendant ROBERT M.

KOWALSKI by the same amount




                                                    2I
  Case: 1:19-cr-00226 Document #: 250 Filed: 02/25/21 Page 22 of 67 PageID #:1511




                p.          On or about March 19,2015, defendant ALICIA MANDUJANO, at the

direction of Individual A, embezzled funds in the form of checks drawn on a Washington Federal

operating account in the total amount of approximately $54,513 and payable to the Cook County

Clerk for payment of real estate taxes on properties beneficially owned by defendarrt ROBERT M.

KOWALSKI, and made corresponding accounting entries showing principal distributions on two

loan accounts related to defendant ROBERT M. KOWALSKI, which defendant ROBERT M.

KOWALSKI was not expected to and did not repay.

                q.          On or about November   g,2Il5      defendant ALICIA MANDUJANO, at the

direction of Individual A, embezzled flrnds in the form of checks drawn on a Washington Federal

operating account in the amount of approximately        $   I l4,022and payable to the Cook County Clerk

for payment of real estate taxes on properties beneficially owned by defendant MIROSLAW

KREJZA, which defendant KREJZA was not expected to and did not repay.

                r.          On or about April 1, 20l6defendant ROBERT M. KOWALSKI, tfuough

an entity in which he had an ownership interest, received from the Chicago Housing Authority

approximately $4,139         in Housing   Choice Voucher Program payments from units             in the S.
Vincennes Avenue properties, which money was the property of Washington Federal and which

defendant ROBERT M. KOWALSKI did not pay over to Washington Federal.

               s.           On or about May 2, 2016, defenrdant JAMES R. CROTTY created and

caused to be provided the OCC a fraudulent Washington Federal             trial loan balance that falsified

payment dates and principal amounts, and intentionally omitted loans.

               t.       On or about June 6, 2016, defendant BOGUSLAW KASPROWICZ

solicited and receive   d   embezzled funds   in the form of a check drawn on a Washington Federal


                                                   22
  Case: 1:19-cr-00226 Document #: 250 Filed: 02/25/21 Page 23 of 67 PageID #:1512




 operating account in the amount of approximately $68,000 and payable to Thomas Development

 Co., which defendant KASPROMCZwas not expected to and did not repay.

                u.         On or about September 7,2016, defendant BOGUSLAW KASPROWICZ

used approximately $2,087 embezzled.from Washington Federal to make a payment on a loan at

Bank B that was used to purchase the Sea Ray boat for the benefit of defendant ROBERT M.

KOV/ALSKI and Individuals A and C.

                v.     On or about Decertber 22,2016, defendant JANE V. IzuONDO, fka JANE

V. TRAN, sent and caused to be sent via email to the FHLB    a   list of loans that Washington Federal

intended to pledge as collateral to the FIILB which contained false representations, including the

identity of borrowers and the last date payments were made on the loans.

               w.      On or about January 19, 2017, defendant MAREK MATCZLIK solicited
                                                                      'Washington
and received embezAed funds      in the form of a check drawn on a                  Federal operating

account in the amount of approximately $25,000 and payable to Mark M Group, which defendant

MATCZUK was not expected to and did not repay.

               x.      On or about February 10,2017, defendant BOGUSLAW KASPROWICZ

used approximately $22,OO0in firnds embezzled.from Washington Federal to make apayment on

a credit card account in the narne of an entity controlled by Individual   A, which was used for the

benefit of Individual A.

               y.      On or about October 20,2017,defendant MIROSLAW KREJZA solicited

and received enbezzled funds in the form    of a check drawn on a Washington Federal operating

account in the amount of approximately $5,000 and payable to M & R Development, Inc., which

defendant KREJZA was not expected to and did not rcpay.


                                                23
 Case: 1:19-cr-00226 Document #: 250 Filed: 02/25/21 Page 24 of 67 PageID #:1513




                 z.      On or about October 30,2017, defendant ROSALLIE CORVITE filed and

caused to be filed a CaII Report with the FDIC which falsely stated on Schedule RC-N that there

were approximately $218,000 worth of loans that were 30-89 days delinquent and no loans that

were 90 days or more delinquent, when in fact the bank had millions of dollars in loans that were

more than 90 days delinquent.

                 aa.     In or around October 2OlT defendants ROSALLIE C. CORVITE, JANE

V. IRIONDO, fka JANE V. TRAN, ALICIA MANDUJANO, and CATHY M. TORRES caused

to be provided to the OCC    a   trial loan balance purporting to be a tist of all of Washington Federal's

loans, which was false in that     it omitted loans   and included fictitious loans, as well as false loan

balances and loan payment histories;

       A11   in violation of Title 18, United States Code, Section 371.




                                                      24
  Case: 1:19-cr-00226 Document #: 250 Filed: 02/25/21 Page 25 of 67 PageID #:1514




                                          COT]NT TWO

        The SPECIAL MAY 2019 GRAND ruRY turther charges:

        1.     Paragraphs 1.a. through 1.d., 1.k., 1.m., and 1.n. of Count One are incorpbrated




        2.     On or about June 18, 2073, at Chicago, in the Northern District of Illinois, Eastern




                            JANE V. IRIONDO, fka JANE V. TRAN,
                                  CATHY M. TORRES, and
                                     JAMES R. CROTTY,

defendants herein, knowingly made and caused to be made false entries in the books, reports, and

statements of Washington Federal, with intent to injure and defraud Washington Federal and to

deceive the OCC, any agent or examiner appointed to examine the affairs of such bank, and the

FDIC, namely, defendants JANE V. IRIONDO, fka JANE V. TRAN, CATHY M. TORRES, and

JAMES R. CROTTY created and caused to be cieated an appraisal for       a   property on S. Vincennes

Avenue, which falsified the date ofthe appraisal, the interior photographs of theproperty, the value

of comparable properties, and the appraised value;

       In violation of Title 18, United States Code, Section 1005.




                                                25
 Case: 1:19-cr-00226 Document #: 250 Filed: 02/25/21 Page 26 of 67 PageID #:1515




                                        COTINI      TryEE
       The SPECIAL MAY 2019 GRAND JURY turther charges:

       1.       Paragraphs 1.a. through 1.d. and 1.o. of Count One are incorporated here.

       2.       OnoraboutOctober l,2ll4,atChicago,intheNorthernDishictoflllinois,Eastern

Division,

                                    ALICIA MANDUJANO,

defendant herein, knowingly made and caused to be made false entries in the books, reports, and

statements   of Washington Federal, with intent to injure and defraud Washington Federal and to

deceive the OCC, any agent or examiner appointed to examine the affairs of such bank, and the

FDIC, namely, defendant ALICIA                        made an entry into Washington Federal's
                                     YANDUJANO
electronic records showing a $100,000 loan distribution from one of defendant ROBERT M.

KOWALSKI's purported loan accounts;

       In violation of Title 18, United States Code, Section 1005.




                                               26
  Case: 1:19-cr-00226 Document #: 250 Filed: 02/25/21 Page 27 of 67 PageID #:1516




                                          COUNT FOUR

        The SPECIAL MAY 2019 GRAND ruRY further charges:

        1.       Paragraphs 1.a. through 1.d. and 1.1. of Count One are incorporated here.

        2.       On or about October 30, 2017, at Chicago, in the Northern District of Illinois,

Eastern Division,

                                     ROSALLIE C. CORVITE,

defendant herein, knowingly made and caused to be made false entries in the books, reports, and

state.ments   of Washington Federal, with intent to injure and defraud Washington Federal and to

deceive the OCC, any agent or examiner appointed to examine the affairs of such bank, and the

FDIC, namely, defendant ROSALLIE C. CORVITE created and caused to be created a Calt Report

which falsely stated on Schedule RC-N that there were approximateiy $218,000 worth of loans

that were 30-89 days delinquent and no loans that were 90 days or more delinquent, when in fact

the bank had millions of dollars in loans that were more than 90 days delinquent;

       ln violation of Title 18, United States Code, Section 1005.




                                                27
  Case: 1:19-cr-00226 Document #: 250 Filed: 02/25/21 Page 28 of 67 PageID #:1517




                                          COUNT F'IVE

         The SPECIAL MAY 2019 GRAND ruRY turther charges:

         1.     Paragraphs 1.a. through 1.d. and 1.1. though 1.o. of Count One are incorporated

here.

         2.     In or around October 2017, at Chicago, in the Northern District of Illinois, Eastern

Division,

                                  ROSALLIE C. CORVITE,
                            JANE V. IRIONDO, fka JANE V. TRAN,
                                 ALICIA MANDUJANO, and
                                    CATHY M. TORRES,

defendants herein, knowingly made and caused to be made false entries in the books, reports, and

statements of Washington Federal, with intent to injrne and defraud Washinglon Federal and to

deceive the OCC, any agent or examiner appointed to examine the'affairs of such bank, and the

FDIC, namely, defendants ROSALLIE C. CORVITE, JANE V. IRIONDO, fka JANE V. TRAN,

ALICIA MANDUJANO,          and CATHY     M. TORRES created and caused to be created     a   kial loan

balance purporting to be a list of all of V/ashington Federal's loans, which was false in that it

omitted loans and included fictitious loans, as well as false loan balances and loan payment

histories;

        In violation of Title 18, United States Code, Section 1005.




                                                28
  Case: 1:19-cr-00226 Document #: 250 Filed: 02/25/21 Page 29 of 67 PageID #:1518




                                           COI]NT SIX

        The SPECIAL MAY 2019 GRAND ruRY firther charges:

        1.      Paragraphs 1.a. through 1.d. and 1.g. of Count One are incorporated here.

        2.     Beginning in or around at least 2007 and continuing until in or around December

2017, at Chicago, in the Northern District of Illinois, and elsewhere,

                                    ROBERT M. KOWALSKI,

defendant herein, did aid, abet, counsel, command, induce and procure the embezzlement,

abstraction, purloining, and willful misapplication by an officer, director, agent, or employee of

Washington Federal, the deposits       of which were     insured   by the FDIC, of in        excess of

approximately $8 million in moneys, funds, and credits of Washington Federal and moneys, funds,

assets, and securities intrusted to the custody and care of V/ashington Federal,   with intent to injure

and defraud Washington Federal;

       ln violation of Title 18, United States Code, Sections 656 ard2.




                                                29
  Case: 1:19-cr-00226 Document #: 250 Filed: 02/25/21 Page 30 of 67 PageID #:1519




                                         COT]NT SEVEN

       The SPECIAL MAY 2019 GRAND JIIRY turther charges:

        1.     Paragraphs 1.a. through 1.d., and 1.h. of Count One are incorporated here.

       2.      Beginning in or around at least 2009 and continuing until in or around December

2017, at Chicago, in the Northern District of Illinois, and elsewhere,

                                 BOGUSLAW KASPROWICZ,

defendant herein, did aid, abet, counsel, command, induce and procure the embezzlement,

abstraction, purloining, and willful misapplication by an officer, director, agent, or employee   of

Washington Federal, the deposits      of which wsre insured by the FDIC, of in          excess of

approximately $14.3 million in moneys, funds, and credits of Washington Federal and moneys,

funds, assets, and securities intrusted to the custody and care of Washington Federal, with intent

to injure and deftaud Washinglon Federal;

       In violation of Title 18, United States Code, Sections 656 and2.




                                                30
  Case: 1:19-cr-00226 Document #: 250 Filed: 02/25/21 Page 31 of 67 PageID #:1520




                                          COT]NT EIGHT

       The SPECIAL MAY 2019 GRAND ruRY turther charges:

        1.     Paragraphs 1.a. through 1.d., and f .i. of Count One are incorporated here.

       2.      Begiruring in or around at least 2004 ardcontinuing until in or around December

2017, at Chicago, in the Northern District of Illinois, and elsewhere,

                                       MIROSLAW KREJZA,

defendant herein, did aid, abet, counsel, command, induce and procure the embezzlement,

abstraction, purloining, and   willful misapplication by an officer, director, agent, or employeb of

Washington Federal, the deposits       of which were     insured by'ttre FDIC,    of in   excess of

approximately $2.8 million in moneys, firnds, and credits of Washington Federal and moneys,

funds, assets, and securities intrusted to the custody and care of Washington Federal, with intent

to injure and defraud Washington Federal;

       In violation of Tifle 18, United States Code, Sections 656   ari 2.




                                                 31
 Case: 1:19-cr-00226 Document #: 250 Filed: 02/25/21 Page 32 of 67 PageID #:1521




                                           COT]NT NINE

       The SPECLA.L MAY 2019 GRAND JIJRY firther charges:

        L      Paragraphs 1.a. through 1.d., and   1j. of Count.One   are incorporated here.

       2.      Beginning in or around at least 2007 and continuing until in or around December

20lV,at Chicago, in the Northern District of lllinois, and elsewhere,

                                       MAREK MATCZUK,

defendant herein, did aid, abet, counsel, command, induce and procure the embezzlement,

abstraction, purloining, and   willful misapplication by an offrcer, director, agent,or employee of

Washington Federal, the deposits       of which were     insured   by the FDIC, of in     excess   of

approximately $6.1 million in moneys, funds, and credits of \Mashington Federal and moneys,

funds, assets, and securities intrusted to the custody and care of Washington Federal, with intent

to injure and defraud Washington Federal;

       In violation of Title 18, United States Code, Sections 656 and,2.




                                                32
  Case: 1:19-cr-00226 Document #: 250 Filed: 02/25/21 Page 33 of 67 PageID #:1522




                                           COUNT TEN

          The SPECIAL MAY 2019 GRAND JURY turther charges:

          1.    At times material to this Count:

                a.     Paragraphs 1.a. and 1.g. of Count One are incorporated here.

                b.     Defendant JAN      R. KOWAISKI, who was defendant ROBERT M.
KOWALSKI'S sister, was an attorney licensed in the State of Illinois,   had an attorney trust account

at Bank   A, and had offices at 1918 West Cermak Road, Chicago, Illinois.

                c.     In or around November 2}I3,pursuant to a written agreement, defendant

ROBERT M. KOWALSKI transferred his interest in 833-57 West Fulton Market Street, Chicago,

Illinois to Company A and relinquished any claims against Company A relating to that properly

and, in exchange, Company A paid $1    million to, and forgave certain debts of, defendant ROBERT

M. KOWALSKI.

                d.     In or around2}l4, defendant ROBERT M. KOWALSKI created Mountain

Duck Properties LLC with a nominee owner, used a portion of the $1 million received from

Company A to purchase properties and then placed title to certain of those properties in land trusts

in which the beneficial    owner was Mountain Duck Properties           LLC (the Mountain Duck
Properties)

                e.     Defendant ROBERT M. KOWALSKI had a cause of action in the lawsuit

Robert M. Kowalski v. Mountain Duck Properties L,LC, inthe Circuit Court of Cook County,

Illinois, 17 CH 13314 (the Mountain Duck Properties Lawsuit), in which defendant ROBERT M.

KOWALSKI, represented by defendant JAN R. KOWALSKI, alleged that he, and not the nominee

owner, was the sole owner of Mountain Duck Properties LLC, the five related land trusts in which

Mountain Duck Properties LLC was a beneficiary, and the MountainDuck Properties.

                                                   aa
                                                   JJ
  Case: 1:19-cr-00226 Document #: 250 Filed: 02/25/21 Page 34 of 67 PageID #:1523




                f.      Piorun Properties LLC received income from the Chicago Housing

 Authority in the form of Housing Assistance Payments related to the Mountain Duck Properties

 and 1099s documenting this income.

                g.      Individuals receiving gross income over certain threshold amounts and

 corporations were required to file annual income tax returns with the Internal Revenue Service,

 accurately listing the gross income received during the tax year.

                h.     Piorun Properties LLC was an entity in which defendant ROBERT M.

KOWALSKI had an ownership interest, and, for tax years 201,4 and2015, was required to file     a

U.S. Income Tax Return for an S Corporation (Form 1 1205 with schedules and attachments). The

ordinary income and losses of Piorun Properties LLC required to be reported on the Form 11205

flowed through to the shareholders of Piorun Properties LLC, including defendant ROBERT M.

KOWALSKI personally, and were required               to be reported on defendant ROBERT      M.

KOWALSKI's U.S. Individual lncome Tax Return (Form 1040 with schedules and attachments).

Defendant ROBERT M. KOWALSKI conducted personal financial transactions using the bank

accounts of business entities, including Piorun Properties LLC, at Washington Federal.

               i.      lndomitable   LLC was an entrty in which        defendant ROBERT M.

KOWALSKI had an ownership interest, and, for tax year 2}l4,filed      a U.S. Income Tax Retum

for an S Corporation (Form 11205 with schedules and attachments). The ordinary income and

losses of Indomitable LLC required to be reported on the Form 11205 flowed through to the

shareholders of Indomitable LLC, including defendant ROBERT M. KOWALSKI personally, and

were required to be reported on defendant ROBERT M. KOWALSKI's U.S. Individual Income

Tax Return (Form 1040 with schedules and irttachments).




                                                34
  Case: 1:19-cr-00226 Document #: 250 Filed: 02/25/21 Page 35 of 67 PageID #:1524




                                              The Divorce Case

                        Defendant ROBERT M. KOWALSKI was aparty to a divorce case in the

 Circuit Court of Cook County, Illinois, 14        D    6997 (the Divorce Case),   in which defendant
 ROBERT M. KOWALSKI was represented by defendant JAN R. KOWALSKI.

                k.      Under the Internal Revenue Code, alimony payments made under a divorce

 or separation decree or agreement were taken as a deduction from gross income in arriving at the

payor's adjusted gross income in the year they were paid, and were taxable income for the parfy

recaiving the alimony payments.

                l.      Defendant ROBERT M. KOWALSKI was not ordered to make alimony

payments to his spouse, nor did he agree to make alimony payments to his spouse, as part of the

Divorce Case.

                                              The Bankruptcy

                m.      On or about March 29,2018, defendant ROBERT M. KOWALSKI filed a

petition under Title 11 of the United States Code initiating a Chapter 11 bankruptcy case, In re

Robert M. Kowolski,l8-09130, in the United States Bankruptcy Court for the Northem District       of
Illinois (the Kowalski Bankruptcy    Case).

                n.     The FDIC, as a receiver and the successor in interest to Washington Federal,

was the largest creditor in the Kowalski Bankruptcy case. Defendant ROBERT M.         KOWALSKI's

spouse was also a creditor in the   Kowalski Bankruptcy Case.

                o.     The filing of a bankruptcy petition automatically stayed collection activity

by creditors against the debtor.

                p.     The filing of a bankruptcy petition by a debtor created a bankruptcy estate

that included all legal or equitable interests of the debtor in property as of the commencement   of

                                                   35
  Case: 1:19-cr-00226 Document #: 250 Filed: 02/25/21 Page 36 of 67 PageID #:1525




 the case.

                q.      A     debtor was required to    file under penalty of perjury a    Statement   of

Financial Affairs and Schedules making disclosures, including as follows:

                                  The Statement of Financial Affairs required the debtor to identify

his businesses and any legal actions.

                        ii.       Schedule   AIB required the debtor to disclose any legal or equitable

interests in cash; negotiable instruments, including personal checks, cashier's checks and money

orders; incorporated and unincorporated business entities, including LLCs; financial accourts; and

claims against third-parties.

                r.      A debtor who filed a Chapter 11 bankruptcy petition was a "debtor-in-

possession" and charged with certain obligations and responsibilities as if the debtor was a trustee.

The debtor-in-possession was a fiduciary for his creditors whose obligations included being

accountable for all estate property, and filing both Periodic Reports Regarding Value, Operations

and Profitability of Entities in Which the Estate of a Debtor Holds a Substantial or Controlling

Interest (Periodic Reports) and Monthly Operating Reports with a Summary of Cash Receipts and

Cash Disbursements (Monthly Operating Reports).

               s.      In all Chapter 11 cases, the United States Trustee conducted an Initial

Debtor Interview at wfrich the United States Trustee explained the debtor-in-possession's duties

and obligations, including    filing the Periodic Reports   and   Monthly Operating Reports and opening

a Debtor-in-Possession Account into which the debtor-in-possession was required to deposit all

funds.

               t.      A debtor was required to appear at a Meeting of Creditors and to testiff

under oath concerning his financial affairs.


                                                   36
  Case: 1:19-cr-00226 Document #: 250 Filed: 02/25/21 Page 37 of 67 PageID #:1526




                 u.        Seven days prior to the Meeting     of Creditors, a debtor was required to

provide to the United States Trustee a bopy of the federal income tax return filed with the Internal

Revenue Service for the most recent year prior to the commencement of the case. At the Initial
          'Interview,
Debtor                  the United States Trustee at times required that a debtor provide additional

documentation, including copies of federal income tax returns filed with the Intemal Revenue

Service for additional prior years.

                 v.        On or about   April ll,20l8 defendant ROBERT M. KOWALSKI         appeared

at his   Initial Debtor lnterview and was instructed by the United States Trustee to provide copies

of defendant ROBERT M. KOWALSKJ's individual and corporate federal income tax returns

filed with the Internal Revenue Service for the tax years 2015,2016, and2017.

                 w.        As of April 11,2018, defendant ROBERT M. KOWALSKI had not filed

with the lnternal Revenue Service individual income tax returns or all required business income

tax returns for tax years 2013 through 2017.

                 x.        On or about August 7,   20l8,the Bankruptcy Court issued an order removing

defendant ROBERT          M. KOWALSKI as the debtor-in-possession and appointing a trustee to

administer the Kowalski Bankruptcy Case (the Trustee).

                 y.        On or about November 26,2018, defendant JAN R. KOWALSKI filed an

appearance on behalf of defendant ROBERT M. KOWALSzu in the Kowalski Bankruptcy Case.

         2.      Beginning in or around March 2l18,and continuing until in or around February

2021,at Chicago, in the Northem District of Illinois, Eastem Division,

                                         ROBERT M. KOWALSKI
                                         and JAN R. KOWAISKI,

defendants herein, devised and intended to devise a scheme to defraud, and for the purpose        of

executing and concealing the scheme and attempting to do so, filed and caused to be filed apetition
                                                     37
  Case: 1:19-cr-00226 Document #: 250 Filed: 02/25/21 Page 38 of 67 PageID #:1527




in a bankruptcy case under Title 11 and documents in a bankruptcy case under Title 11, and made

and caused to be made false and fraudulent representations, claims, and promises concerning and

in relation to a bankruptcy case under Title     1   1.


                                         Overview of the Scheme

          a
          J.     It was part of the scheme that defendants ROBERT M. KOWALSKI and JAN R.

KOWALSKI attempted to and did defraud ROBERT M. KOWALSKI's creditors, including the

FDIC, and the Trustee appointed to administer ROBERT M. KOWALSKI's bankruptcy case by

concealing at least approximately $567,200 in properly belonging to ROBERT M. KOWALSKI's

bankruptcy estate, including cash and cash equivalents, interests in corporate entities and trusts,

causes   ofaction, interests in real estate, and rents and the rights to collect rents.

         4.      It was further part of the scheme that defendants ROBERT M. KOWALSKI          and

JAN R. KOWALSKI used defendant JAN R. KOWALSKI's attorney trust account both:

                 a.       to conceal firnds which were properly of ROBERT M. KOWALSKI's

bankruptcy estate from defendant ROBERT M. KOWALSKI's creditors and the Trustee; and

                 b.       to engage in transactions with firnds which were property of ROBERT M.

KOWALSKI's bankruptcy estate for the purpose                   of   concealing defendant ROBERT M.

KOWALSKI's interest in those funds and in properly acquired with those concealed funds.

         Properfy of the Bankruptcy Estate Concealed at the Time the Bankruptcy Was Filed

         5.      It   was further part of the scheme that, on or about March 29, 2018, defendant

ROBERT M. KOWALSKI filed a petition initiating the Kowalski Bankruptcy Case, during the

pendency of which defendants ROBERT M. KOWALSKI and JAN R. KOWALSKI concealed

from creditors and the Trustee property of defendant ROBERT M. KOWALSKI's bankruptcy

estate, including the   following ihterests of defendant ROBERT M. KOWALSKI, which he held at


                                                          38
  Case: 1:19-cr-00226 Document #: 250 Filed: 02/25/21 Page 39 of 67 PageID #:1528




the time the petition was fiIed:

                 a.       At least approximately $364,600 in cash equivalents;

                 b.       Mountain Duck Properties LLC and the five related land trusts; and

                 c.       The Mountain Duck Properties Lawsuit.

        6.       It   was further part of the scheme that, on or about Apt'rl 25, 2018, defendant

ROBERT M. KOWALSKI filed in the Kowalski Bankruptcy Case a Statement of Financial Affairs

and a Schedule    A/B in which defendant ROBERT M. KOWALSKI concealed from his creditors

his interests, including at least approximately $364,600 in cash equivalents, Mountain Duck

Properties LLC and the five related land trusts, and the Mountain Duck Properties Lawsuit, all by

intentionally omitting his interests in those properties.

                                          Post-Filing Fraud

       Property of the Banlvuptcy Estate Acquired and Concealed During the Banlvuptcy

       7.      It     was firrther part of the scheme that, beginning in or around March 2018,

following the filing of his bankruptcy petition, defendant ROBERT M. KOWALSKI continued to

operate his real estate management business through business entities and opened a Debtor-in-

Possession Account at Bank       B, but defendant ROBERT M. KOWALSKI concealed from his

creditors and the Trustee the income he obtained by not depositing income into the Debtor-in-

Possession Account and by      filing Periodic Reports and Monthly Operating Reports in which he

did not account for a material amount of his income.

       8.      It was further part of the scheme that, from in or around March 2018 through March

2019, defendant ROBERT M. KOWALSKI collected and possessed approximately $78,800 in

rent checks payable to defendant ROBERT M. KOWALSKI or bearer, which he concealed from

his creditors and the Trustee by depositing the checks in the accounts of Indomitable LLC and


                                                 39
  Case: 1:19-cr-00226 Document #: 250 Filed: 02/25/21 Page 40 of 67 PageID #:1529




Piorun Properties LLC, negotiating the checks for cash at currency exchanges, or holding them,

instead of depositing the checks into the Debtor-in-Possession Account or tendering the checks to

the Trustee.

        9.      It was further part of the scheme that, from in or around April through July 2018,

defendant ROBERT M.      KOWALSKI concealed from his creditors firnds in the accounts of LLCs

he controlled by using approximately $143,000 of those funds to purchase cashier's checks

payable to third parties for defendant ROBERT M. KOWALSKf 's benefit:

        10.    It was firther part of the scheme that, on or about May 24,2018, at a Meeting of

Creditors, defendants ROBERT       M. KOWALSKI and JAN R. KOWALSKI concealed from

defendant ROBERT M. KOWALSKI's creditors his interest in Mountain Duck Properties LLC

and the five related land trusts, by defendant ROBERT    M. KOWALSKI falsely testiffing under

oath in the presence of defendant JAN R.   KOWALSKI that he did not have an interest in Mountain

Duck Properties LLC.

        11. It was flrther part of the scheme that, on or about August 7,2018, defendant
ROBERT M. KOWALSKI attempted to use the Kowalski Bankruptcy Case to stay the Divorce

Case.

        12.    It was further part of the scheme that, in or around approximately October   2018,

defendant ROBERT M. KOWALSKI caused others to move the Sea Ray boat from Burnham

Harbor in Chicago, Illinois to another location.

        13.    It was further part of the scheme that, on or about November 26,2018, and again

on or about December 3,2018, defendant ROBERT M. KOWALSKI falsely represented to the

Trustee and a creditor, namely, the FDIC, that he was not involved in the relocation ofthe Sea Ray

boat and did not know the location of the boat.


                                                   40
  Case: 1:19-cr-00226 Document #: 250 Filed: 02/25/21 Page 41 of 67 PageID #:1530




         Use of the Attorney Trust Account to Conceal Property of the Banlvuptcy Estate

        14.    It was further part of the scheme that, from in or around August through October

2018, defendants ROBERTM.         KOWALSKI and JAN R. KOWALSKI concealed from defendant

ROBERT M. KOWALSKI's creditors and the Trustee approximately $352,100 in cashier's checks

for which defendant ROBERT M. KOWALSKI was both the remitter and the payee, by depositing

the cashier's checks into defendant JAN R. KOWAISKI's attomey trust account, instead of

tendering the cashier's checks to the Trustee.

        15. It was firrther part of the scheme that, in or around September        through October

2018, defendant ROBERT M.       KOWALSKI collected      and possessed approximately $3,400 in rent

checks payable      to   defendant ROBERT    M. KOWALSKI, which          defendants ROBERT M.

KOWALSKI and JAN R. KOWALSKI then concealed from defendant ROBERT M.

KOWALSKI's creditors       and the Trustee by causing the checks to be deposited into defendant   JAN

R. KOWALSKI's attorney trust account, instead of tendering the checks to the Trustee.

                                Providing False Income Tm Returns

       16.     It was further part of the scheme that, in or around May 2018, defendant ROBERT

M. KOV/ALSKI prepared and filed individual and business federal income tax returns with the

Internal Revenue Service and then, on or about lune 72,2018, provided to the United States

Trustee certain individual and business federal income tax returns which were materially false,

including as follows:

               a.        defendant ROBERT        M. KOWALSKI's 2015,        2016, and 2017 U.S.

Individual Income Tax Returns (Forms 1040 with schedules and attachments) overstated

deductions and understated adjusted gross income;




                                                  4t
  Case: 1:19-cr-00226 Document #: 250 Filed: 02/25/21 Page 42 of 67 PageID #:1531




               b.       PiorunProperties LLC's 2014 U.S- Income TaxRetumfor an S Corporation

(Forrn 11205 with schedules and attachments) understated income in that it did not report income

that Piorun Properties LLC received in the form of funds embezzled from Washington Federal;

               c.       Piorun Properties LLC's 2015 U.S. Income Tax Retum for an S Corporation

(Form 11205 with schedules and attachments) understated income in that it did not report income

that Piorun Properties LLC received from the Chicago Housing Authority related to the Mountain

Duck Properties; and

               d.       Piorun Properties LLC's 2014 arrd 2015 U.S. Income Tax Returns for an

S Corporation (Form 11205    with schedules and attachments) were not copies ofthe 2074 and20l5

corporate retums filed with the Internal Revenue Service.

                         Use of the Attorney Trust Account to Engage in
                    Transactions to Conceal Property of the Banlwuptcy Estate


       .17.    It was further part.of the scheme that, in or around June, July, and October 2018,

defendants ROBERT       M. KOWALSKI and JAN R. KOWALSKI concealed from defendant

ROBERT M. KOWALSKI's creditors and the Trustee approximately $96,600, including firnds

which defendants had concealed in defendant JAN R. KOWALSKI's attomey trust account, by

using those funds, as described inparagraphs 18 and 19 below, to purchase 6821 West 96th Street,

Oak Lawn, Illinois (the Oak Lawn Properly), in the name of a nominee for defendant ROBERT

M. KOWALSKI (the Nominee).

       18. It was further part of the scheme that, on or about June 18 and July 24, 2018,
defendant ROBERT       M. KOWALSKI concealed from defendant ROBERT M. KOWALSKI's

creditors and the Trustee approximately $21,000, which he used to purchase cashier's checks

payable to the Nominee, then caused the checks to be deposited into the Nominee's bank account

and then caused the funds to be wired on or about October   12,2018,to   a   title company account to
                                              42
  Case: 1:19-cr-00226 Document #: 250 Filed: 02/25/21 Page 43 of 67 PageID #:1532




fund the purchase of the Oak Lawn Property.

        lg.    It was further part of the   scheme that, on or about October 12,2018, defendants

ROBERT M. KOV/ALSKI and JAN R. KOWALSKI concealed from defendant ROBERT M.

KOWALSKI's creditors      and the Trustee approximalely $75;600, which defendants ROBERT M.

KOV/ALSKI and JAN R. KOWALSKI           caused to be wired to a   title company account to fund the

purchase of the Oak   tawn Property.

       20.     It was further part of the scheme that, on or about September 13,2018, defendants

ROBERT M. KOWALSKI and JAN R. KOWALSKI concealed from defendant ROBERT M.

KOWALSKI's creditors and the Trustee approximately $2,500 which defendants ROBERT M.

KOWALSKI and JAN R. KOWALSKI had concealed in defendant JAN R. KOWALSKI's

attorney trust account by using the funds as earnest money in an attempt to pwchase 9447 South

Indiana Avenue, Chicago, Illinois, in the name of a fictitious trust of which defendant ROBERT

M. KOWALSKI was the beneficiary.

       21.    It was fi.rther part of the scheme that, in or around September through     October

20lS defendants ROBERT M. KOWALSKI and JAN R. KOWALSKI concealed from defendant

ROBERT M. KOWAISKI's creditors and the Trustee funds that had been concealed in defendant

JAN R. KOWALSKI's attomey trust account by purchasing approximately $350,300 in cashier's

checks payable to or for the benefit of defendant ROBERT M.    KOWALSKI.

       22.    It was fi.rther part of the scheme that, in or around October through Decemb er 2018,

defendants ROBERT Iv{.   KOWALSKI and JAN R. KOWALSKI concealed funds from defendant

ROBERT M. KOWALSKI's creditors and the Trustee through defendant JAN R. KOWALSKI

depositing into her attorney trust account approximately $325,900 of the cashier's checks that

defendant JAN R. KOWALSKI had purchased as described in paragraph 21 above.


                                                43
  Case: 1:19-cr-00226 Document #: 250 Filed: 02/25/21 Page 44 of 67 PageID #:1533




        23   .    It was further part of the scheme that, in or around October through December 201 8,

defendants ROBERT M.         KOWALSKI and JAN R. KOWALSKI concealed               fi.rnds from defendant

ROBERT M. KOWALSKI's creditors and the Trustee through defendant JAN R. KOWALSKI's

withdrawal       of   approximately $241,800   in United   States crurency from defendant JAN R.

KOWALSKI's attomey trust account

        24.       It was further part of the scheme tha! in or around August 2018 through February

2027, defendants RQBERT M. KOWALSKI and JAN R. KOWALSKI concealed property of

defendant ROBERT M.         KOWALSKI's bankruptcy      estate by obstructing the ef[orts   ofthe creditors

and the Trustee to obtain records of property of the estate and to locate property of the estate.

        25.       It was further part of the scheme that defendants ROBERT M. KOWALSKI                and

JAN R. KOWALSKI did misrepresent, conceal and hide, and cause to be misrepresented,

concealed and hidden, acts done in furtherance of the scheme and the purposes of those acts.

        26.       On or about March 2g,2018,at Chicago, in the Northern District of Illinois, Eastern

Division,


                                      xi,lT#,5",frf,?f
defendants herein, for the purpose    of executing and concealing the above described scheme and

attempting to do so, filed and caused to be filed a petition in a proceeding under Title 11, namely,

a Chapter 11 bankruptcy case, In re Robert M.    Kowalski,lS-09t30;

       In violation of Title 18, United States Code, Section 157(l).




                                                  44
 Case: 1:19-cr-00226 Document #: 250 Filed: 02/25/21 Page 45 of 67 PageID #:1534




                                       COT]NT ELEYEN

       The SPECIAL MAY 2019 GRAND JURY turther charges:

       1.      Paragraphs   I through 25 ofCount Ten are incorporated    here.

       2.      On or about Api125,2018, at Chicago, in the Northern District of Illinois, Eastern

Division,

                                   ROBERT M. KOWALSKI
                                   and JAN R. KOWALSKI,

defendants herein, for the purpose of executing and concealing the above described scheme and

attempting to do so, filed and caused to be filed a document, namely a Statement of Financial

Affairs and a Schedule A./B, in aproceeding under Title   11, namely, a Chapter   11   bankruptcy case,

Inre Robert M. Kowalski" 18-09130;

       In violation of Title 18, United States Code, Section 157(2).




                                               45
  Case: 1:19-cr-00226 Document #: 250 Filed: 02/25/21 Page 46 of 67 PageID #:1535




                                          COT]NT TWELYE

          The SPECIAL MAY 2019 GRAND JTIRY turther charges:

          1.      Paragraphs   I through 25 of Count Ten are incorporated   here.

          2.      On or about May 24,2018, at Chicago, in the Northern District of Illinois, Eastem

Division,

                                      ROBERT M. KOWALSKI
                                      and JAN R. KOWALSKI,

defendants herein, for the purpose of executing and concealing the above described scheme and

attempting to do so, made and caused to be made a false and fraudulent representation, namely

that ROBERT M. KOWALSKI did not have an interest in Mountain Duck Properties, in                 a

proceeding under Title 11, namely, a Chapter 11 bankruptcy case, In re Robert M. Kowalski, 18-

091 30;


          In violation of Title 18, United States Code, Section 157(3).




                                                  46
 Case: 1:19-cr-00226 Document #: 250 Filed: 02/25/21 Page 47 of 67 PageID #:1536




                                      COUNT THIRTEEN

       The SPECIAL MAY 2019 GRAND JURY firther charges:

       1.       Paragraphs 1 through 25 ofCount Ten are incorporated here.

       2.       On or about January 9,2079,at Chicago, in the Northern District of Illinois, Eastern

Division,

                                    ROBERT M. KOWALSKI
                                    and JAN R. KOWALSKI,

defendants herein, for the purpose of executing and concealing the above described scheme and

attempting to do so, filed and caused to be filed a document, namely a Combined Response to

Trustee's Motion For Accounting and Tumover of Estate Funds Against Jan Kowalski and Rule

to Show     Cause Against Jan Kowalski and Debtor,     in aproceeding under Title 11, namely,     a

Chapter 11 bankruptcy case, Inre Robert M. Kowalski, 18-09130;

       ln vioiation of Title 18, United States Code, Section 157(2).




                                                47
  Case: 1:19-cr-00226 Document #: 250 Filed: 02/25/21 Page 48 of 67 PageID #:1537




                                      COT]NT f,'Ot]RTEEN

        The SPECIAL MAY 2019 GRAND JURY firther charges:

        1.      Paragraph 1.g. of Count One and paragraphs 1.b., 1.m., and 1.x. of Count Ten are

incorporated here.

        2.     From on or about March 29,2018, through in or around June 2020, at Chicago, in

the Northern District of Illinois, Eastem Division,

                                    ROBERT M. KOWALSKI
                                    and JAN R. KOWALSKI,

defendants herein, knowingly and fraudulently concealed from a trustee charged with the control

and custody of property and, in connection with a case under Title 11, namely, In re Robert M.

Kowalski,lS-09130, from creditors and the United States Trustee, property belonging to the estate

of a debtor, namely, ROBERT M. KOWALSKI, to wit, approximately $567 ,200 and the Sea Ray

boat;

        In violation of Title 18, United States Code, Section 152(1).




                                                48
  Case: 1:19-cr-00226 Document #: 250 Filed: 02/25/21 Page 49 of 67 PageID #:1538




                                          COT]NT F'IF'TEEN

        The SPECIAL MAY 2019 GRAND ruRY turther charges:

        1.        Paragraph 1.g. of Count One and paragraphs 1.m., 1.u. through 1..w., and 16       of

Count Ten are incorporated here.

        2.        On or about Jvrre 12,2018, at Chicago, in the Northern District of Illinois, Eastern

I)lvrslon,

                                      ROBERT M. KOWALSKI,

defendant herein, after the filing of a case under Title 1 1, namely, In re Robert M. Kowalski, 18-

09130, knowingly and fraudulently falsified and made false entries          in   recorded information

relating to the financial affairs of debtor ROBERT M. KOWALSKI, in that defendant caused to

be created forthe purpose of providing to the United States Trustee individual and business federal

income tax returns which were materially false as follows:

                  a.     Defendant ROBERT        M. KOWALSKI's 2015,          2016, and 2017 U.S.

Individual Income Tax Returns (Forms 1040 with schedules and attachments) overstated

deductions and understated arljusted gross income;

                  b.     Piorun Properties LLC's 2014 U.S. Income Tax Return for an S Corporation

(Form 11205 with schedules and attachments) understated income in that it did not report income

that Piorun Properties LLC received in the form of funds embezzled. from Washington Federal;

and

                  c.     The Piorun Properties LLC's 2014 and2015 U.S. Income Tax Returns for

an S Corporation (Forms 1 120S with schedules and attachments) were not copies of the returns

filed with the IRS;

             violation of Title 18, United States Code, Section 152(8).
                                                  49
  Case: 1:19-cr-00226 Document #: 250 Filed: 02/25/21 Page 50 of 67 PageID #:1539




                                         COT]NT SIXTEEN

        The SPECIAL MAY 2019 GRAND JURY turther charges:

        1.       Paragraph 1.g.   of Count One and paragraphs 1.c. and 1.g. of Count Ten are
incorporated here.

       2.        Beginning on or about January         l,   2013 and continuing through on   or   about

December 31,2013, at Chicago, in the Northern District of Illinois, Eastern Division,

                                         BERT M. KOWALSKI,

defendant herein, had and received gross income of at least $10,000, and     jointly with his wife had

and received gross income     of at least $20,000. By reason of such gross income, defendant was

required by 1aw, fotlowing the close of the calendar year 2013 and on or before April 15, 2074,to

make an income tax return to the Internal Revenue Service, stating specifically the items of his

gross income and any deductions and credits to which he was         entitled. Knowing the foregoing,

defend.ant did   willfirlly fail, on or about Aprll 15,2014, in the Northem District of Illinois,   and

elsewhere, to make said income tax retums or return;

       In violation of Title 26,!Jntted States Code, Section 7203.




                                                  50
  Case: 1:19-cr-00226 Document #: 250 Filed: 02/25/21 Page 51 of 67 PageID #:1540




                                       COUNT SEVENTEEN

        The SPECIAL MAY 2019 GRAND ruRY turther charges:

        1   .   Paragraphs I .g., and 47 .m. of Count One and paragraphs 1 .g. and 1 .h. of Count Ten

are incorporated here.

        2.      On or about May    2!,z}ll,at   Chicago, in the Northern District of Illinois, Eastern

Division,

                                     ROBERT M. KOWALSKI,

defendant herein, willfully made and subscribed a U.S. Income Tax Return for an S Corporation

on behalf of Piorun Properties   LLC (Form 1 1205 with schedules and attachments), for the calendar

year 2014, which retum was verified by written declaration that it was made under the penalties

of perjury and was filed with the Internal Revenue Service, which return he did not believe to be

true and correct as to every material matter, in that defendant falsely represented and stated on line

6 that the corporation's total income was $0, when defendant knew that the corporation received

gross income in excess of the amount reported on the retum;

       In violation of Title 26, United States Code, Section 7206(l).




                                                 51
 Case: 1:19-cr-00226 Document #: 250 Filed: 02/25/21 Page 52 of 67 PageID #:1541




                                       COUNT EIGHTEEN

       The SPECIAL MAY 2019 GRAND JURY firther charges:

        1.      Paragraphs 1.g. and 47 .m. of Count One and paragraphs 1.g. through f .i.   of Count

Ten are incorporated here.

       2.       Beginning on or about January         l,   2014 and continuing through on or about

December 31,2014, at Chicago, in the Northem District of Illinois, Eastern Division,

                                    ROBERT M. KOWALSKI,

defendant herein, had and received gross income of at least $10,150, and jointly with his wife had

and received gross income of at least   $20,300. By reason of such gross income, defendant was

required by law, following the close of the calendar year 2014 and on or before April 15, 2015,to

make an income tax return to the Internal Revenue Service, stating specifically the items of his

gross income and any deductions and credits to which he was        entitled. Knowing the foregoing,

defendant did   willfully fail, on or about April 15, 2015, in the Northern Distuict of Illinois,   and

elsewhere, to make said income tax retums or retum;

       In violation of Title 26, United States Code, Section 7203.




                                                 52
  Case: 1:19-cr-00226 Document #: 250 Filed: 02/25/21 Page 53 of 67 PageID #:1542




                                      COT]NT IIINETEEN

        The SPECIAL MAY 2019 GRAND JIIRY fi.rther charges:

        1.     Paragraph   l.g. of Cotlrt One andparagraphs 1.d. through 1.h. of Count Ten are

incorporated here.

        2.     On or about May 21,,2018,at Chicago, in the Northern District of Illinois, Eastern

Division,

                                   ROBERT M. KOWALSKI,

defendant herein, willfully made and subscribed a U.S. Income Tax Return for an S Corporation

onbehalf ofPiorunProperties LLC (Form 11205 with schedules and attachments), forthe calendar

year 2015, which return was verified by written declaration that it was made under the penalties

of perjury and was filed with the lnternal Revenue Service, which return he did not believe to be

true and correct as to every material matter, in that defendant falsely represented and stated on

attached Forrn 8825, Rental Real Estate Income and Expense of a Parbrership or an S Corporation,

line 18a, that the corporation's total gross rents were $73,547,when defendant knew that the

corporation received gross rents in excess of the amount reported on the return;

       In violation of Title 26,tJnsted.States Code, Section 7206(1).




                                               53
  Case: 1:19-cr-00226 Document #: 250 Filed: 02/25/21 Page 54 of 67 PageID #:1543




                                       COT]NT TWENTY

        The SPECIAL MAY 2019 GRAND ruRY firther charges:

        1   .   Paragraph 1.g. of Count One and paragraphs 1.d. through 1.h. and        through

of Count Ten are incorporated here.

        2.      On or about May 21,2018, at Chicago, in the Northern District of Illinois, Eastern




                                   ROBERT M. KOWALSKI,

defendant herein, willfully made and subscribed a U.S. Individual Income Tax Return (Form 1040

with schedules and attachments), for the calendar year 2015,which retum was verified by written

declaration that it was made under the penalties of perjury and was filed with the Intemal Revenue

Service, which return he did not believe to be true and correct as to every material matter, in that

defendant falsely represented and stated on said return:

                a. -   On line 314 that defendant had paid $252,000 in alimony, when defendant

knew he had not paid alimony in that amount; and

                b.     On line 37,that defendant's adjusted gross income was $ - 217,056,when

defendant knew that his adjusted gross income was in excess of the amount reported on the retum;

       In violation of Title 26,Uruted States Code, Section 7206(1).




                                               54
  Case: 1:19-cr-00226 Document #: 250 Filed: 02/25/21 Page 55 of 67 PageID #:1544




                                      COTINT TWENTY-ONE

        The SPECIAL MAY 2019 GRAND JURY flrther charges:

        1.     Paragraph 1.g. of Count One andparagraphs 1.g. and 1j. through 1.1. of CountTen

are incorporated here.

        2.     On or about May 21,2018, at Chicago, in the Northern District of Illinois, Eastern

Division,

                                     ROBERT M. KOWALSKI,

defendant herein,   willfrrlty made and subscribed   a   U.S. Individual Income Tax Retum (Form 1040

with schedules and attachments), for the calendar year 2Ol6,which retum was verified by written

declaration that it was made under ttre penalties of perjury and was filed with the Intemal Revenue

Service, which return he did not believe to be true and correct as to every material matter, in that

defendant falsely represented and stated on said return:

             . a.        On line 3la, that defendant had paid $252,000in alimony, when defendant

knew he had not paid alimony in that amount; and

               b.        On bne 37,that defendant's adjusted gross income was $ - 172,3}8,when

defendant knew that his adjusted gtoss income was in excess of the amount reported on the retum;

       In violation of Title 26,tJruted,States Code, Section 7206(l).




                                                 55
  Case: 1:19-cr-00226 Document #: 250 Filed: 02/25/21 Page 56 of 67 PageID #:1545




                                       COT]NT TWENTY.TWO

        The SPECIAL MAY 2019 turther charges:

        1.     Paragraph 1.g. of Count One andparagraphs 1:g. and      1j. through   1.1.   of Count Ten

are incorporated here.

       2.      On or about May 21,2018, at Chicago, in the Northern District of Illinois, Eastem

Division,

                                       ROBERT M. KOWALSKI,

defendant herein,   willfully   made and subscribed a U.S. Individual Income Tax Retum (Form 1040

with schedules and attachments), for the calendar year 2017,which retum was verified by written

declaration that it was made under the penalties of perjury and was filed with the Internal Revenue

Service, which refurn he did not believe to be true and correct as to every material matter, in that

defendant falsely represented and stated on said retum:

               a.        On line 314 that defendant had paid $252,000 in alimony, when defendant

knew he had not paid alimony in that amowrt; and

               b.        On line 3T,thatdefendant's adjusted gloss income was        $   -94,831, when

defendant knew that his adjusted gross income was in excess of the amount reported on the return;

       In violation of Title 26,IlrutsdStates Code, Section 7206(l).




                                                  56
  Case: 1:19-cr-00226 Document #: 250 Filed: 02/25/21 Page 57 of 67 PageID #:1546




                                      COT]NT TWENTY-THRI,E

        'The SPECIAL MAY 2019 GRAND JIJRY turther charges:

         1.     Paragraphs 1.a. and 1.h. of Count One are incorporated here.

        2.      Thomas Development Co., Inc. was an entity owned by defendant BOGUSLAW

KASPROMCZ,         and for tax   years20l4-2017, filed U.S. Income Tax Returns for an S Coqporation

(Forms 11205 with schedules and attachments). The ordinary income and losses of Thomas

Development Co., Inc. required          to be reported on the Forms 11205 flowed tluough to
BOGUSLAW KASPROWICZ personally, and were required                      to be reported on defendant
KASPROWICZ's U.S. Individual Income Tax Returns (Forms 1040 with schedules and

attachments).

        3.      On or about   April 3, 2015, in the Northern District of Illinois, Eastern Division,

                                    BOGUSLAW KASPROWICZ,

defendant herein, willfully made and subscribed a U.S. Income Tax Retum for an S Corporation

on behalf of Thomas Development Co., Inc. (Form 1120S with schedules and attachments), for

the calendar year 2Ol4,which return was verified by written declaration that it was made under

the penalties of perjury and was filed with the Internal Revenue Service, which return he did not

believe to be true and correct as to every material matter, in that defendant falsely represented and

stated on said return:

        On Form 11205, line 6, that the corporation had no total income, when defendant knew

that the corporation received gross income in excess of the amount reported on the return;

       In violation of Title 26,Uruted States Code, Section 7206(1).




                                                  57
  Case: 1:19-cr-00226 Document #: 250 Filed: 02/25/21 Page 58 of 67 PageID #:1547




                                           COT]NT TWENTY-FOT]R

        The SPECIAL MAY 2019 GRAND ruRY firther charges:

        1.     Paragraphs       1   .a. and 1.h.   of Count One and paragraph 2 of Count Twenty-Three are

incorporated here.

       2.      On or about April 3, 2015, in the Northem District of Illinois, Eastern Division,

                                         BOGUSLAW KASPROWTCZ,

defendant herein,   willfully   made and subscribed a U.S. Individual Income Tax Return (Form 1040

with schedules and attachments), for the calendar year 2074, which return was verified by written

declaration that it was made under the penalties of perjury and was filed with the Internal Revenue

Service, which return he did not believe to be true and correct as to every material matter, in that

defendant falsely represented and stated on said return:

       On Form 1040, line 22, that defendant's total income was $ -2,960,376, when defendant

knew that his total income was in excess of the amount reported on the return;

       In violation of Title 26,Urrrted States Code, Section 7206(l).




                                                         58
  Case: 1:19-cr-00226 Document #: 250 Filed: 02/25/21 Page 59 of 67 PageID #:1548




                                    COLiNT TWENTY.F'IYE

        The SPECIAL MAY 2019 GRAND JLIRY turther charges:

        1.      Paragraphs 1.a. and 1.h. of Count One and paragraph 2 of Count Twenty-Three are

incorporated here.

        2.      On or about March 28,2016, in the Northern District of Iilinois, Eastern Division,

                                  BOGUSLAW KASPROWICZ,

defendant herein, willfully made and subscribed a U.S. Income Tax Return for an S Corporation

on behalf of Thomas Development Co., Inc. (Form 11205 with schedules and attachments), for

the calendar yeer 2075, which return was verified by written declaration that it was made under

the penalties of perjury and was filed with the Intemal Revenue Service, which return he did not

believe to be true and correct as to every material matter, in that defendant falsely represented and

stated on said return:

        Oir Form 11205, line 6, that the corporation had no total income, when defendant knew

that the corporation received gross income in excess of the amount reported on the return;

               In violation of Title 26,Unrted States Code, Section 7206(1).




                                                s9
  Case: 1:19-cr-00226 Document #: 250 Filed: 02/25/21 Page 60 of 67 PageID #:1549




                                      COTINT TWENTY.SX

        The SPECIAL MAY 2019 GRAND ruRY further charges:

        1.     Paragraphs 1.a. and 1.h. of Count One and paragraph 2 of Count Twenty-Three are

incorporated here.

        2.     On or about March 28,2016, in the Northern District of Illinois, Eastem Division,

                                  BOGUSLAW KASPROWICZ,

defendant herein,   willfutly made and subscribed   a U.S.   Individual Income Tax Return (Form 1040

with schedules and attachments), for the calendar year 2015, which return was verified by written

declaration that it was made under the penalties of perjury and was filed with the Internal Revenue

Service, which retum he did not believe to be true and correct as to every material matter, in that

defendant falsely represented and stated on said return:

       On Form 1040, line 22,thatdefendant's total income was $ -2,970,376, when defendant

knew that his total.income was in excess of the amount reported on the refum;

       In violation of Title 26,Untted States Code, Section 7206(l).




                                                60
  Case: 1:19-cr-00226 Document #: 250 Filed: 02/25/21 Page 61 of 67 PageID #:1550




                                   COTINT TWENTY-SEVEN

        The SPECIAL MAY 2019 GRAND JURY turther charges:

        1.     Paragraphs 1.a. and 1 .h. of Count One and paragraph 2 of Count Twenty-Three axe

incorporated here.

        2.     On or about April 10, 2017,in the Northern District of Illinois, Easterr Division,

                                  BOGUSLAW KASPROWICZ,

defendant herein, willfully made'and subscribed a U.S. Income Tax Return for an S Corporation

on behalf of Thomas Development Co., Inc. (Form 11205 with schedules and attachrnents), for

the calendar year 20l6,which return was verified by written declaration that it was made under

the penalties of perjurl, and was fited with the Internal Revenue Service, which return he did not

believe to be true and correct as to every material matter, in that defendant falsely represented and

stated on said retum:

       On Form 11205, line 6, that the corporation had no total income, when defendant knew

that the corporation received gross income in excess of the amount reported on the return;

       ln violation of Title 26,Uruted States Code, Section 7206(l).




                                                6l
  Case: 1:19-cr-00226 Document #: 250 Filed: 02/25/21 Page 62 of 67 PageID #:1551




                                      COLTNT TWENTY-EIGHT

       The SPECIAL MAY 2019 GRAND JIIRY turther charges:

        1.     Paragraphs 1.a. and 1.h. of Count One and paragraph 2 of Count Twenty-Three are

incorporated here.

       2.      On or about April12,2017, inthe Northem District of Illinois, Fastern Division,

                                     BOGUSLAW KASPROWICZ,

defendant herein,   willfully   made and subscribed a U.S. Individual Income Tax Retum (Form 1040

with schedules and attachments), for the calendar year 2016, which return was verified by written

declaration that it was made under the penalties of perjury and was filed with the Internal Revenue

Service, which return he did not believe to be true and correct as to every material matter, in that

defendant falsely represented and stated on said retum:

       On Form 1040, line 22,thatdefendanl's total income was $ -2,970,376, when defendant

knew that his total income was in excess of the amount leported on the return;

       In violation of Title 26,lJntted States Code, Section 7206(l).




                                                  62
  Case: 1:19-cr-00226 Document #: 250 Filed: 02/25/21 Page 63 of 67 PageID #:1552




                                    COUNT TWENTY-NINE

        The SPECIAL MAY 2019 GRAND JURY turther charges:

        1.      Paragraphs 1.a. and 1 .h. of Count One and paragraph 2 of Count Twenty-Three are

incorporated here.

        2.      On or about March 21,2018,in the Northern District of Illinois, Eastern Division,

                                  BOGUSLAW KASPROWICZ,

defendant herein, willfully made and subscribed a U.S. Income Tax Return for an S Corporation

on behalf of Thomas Development Co., Inc. (Form 1120S with schedules and attachments), for

the calendar year 2017, which return was verified by written declaration that it was made under

the penalties of perjury and was filed with the Internal Revenue Service, which return he did not

believe to be true and correct as to every material matter, in that defendant falsely represented and

stated on said return:

       On Form 11205, line 6, that the corporation had no total income, when defendant knew

that the corporation received gross income in excess of the amount reported on the retum;

               In violation of Title 26, United States Code, Section 7206(1).




                                                63
  Case: 1:19-cr-00226 Document #: 250 Filed: 02/25/21 Page 64 of 67 PageID #:1553




        The SPECIAL MAY 2019 GRAND JIIRY turther charges:

        1.     Paragraphs 1.a. and 1.h. of Count One and paragraph 2 of Count Twenty-Three are

incorporated here.

       2.      On or about      April 11,2018, in the Northern Dishict of Illinois,   Eastem Division,

                                     BOGUSLAW KASPROWTCZ,

defendant herein,   willfully   made and subscribed a U.S. Individual Income Tax Return (Form 1040

with schedules and attachments), for the calendar year 2017,which return was verified by written

declaration that it was made under the penalties of perjury and was filed withthe Internal Revenue

Service, which return he did not believe to be true and correct as to every material matter, in that

defendant falsely represented and stated on said retum:

       On Forrn 1040, line 22,that defendant's total ihcome was S -2,965,276, when defendant

knew that his total income was in excess of the a:1ount reported on the return;

       In violation of Title 26,Unrted States Code, Section 7206(l).




                                                   64
  Case: 1:19-cr-00226 Document #: 250 Filed: 02/25/21 Page 65 of 67 PageID #:1554




                                FORFEITURE ALLEGATION ONE

           The SPECIAL MAY 2019 GRAND ruRY turther alleges:

           1.    Upon conviction of an offense in violation of Title 18, United States Code, Section

371 as alleged in this Third Superseding Indictment, each defendant shall forfeit to the United

States   of America any and all right, title, and interest each may have in any property, real and

personal, which constitutes and is derived from proceeds traceable to the offense, as provided in

Title   18, United States Code, Section   981(aXlXC).

           2.    The property to be forfeited includes, but is not limited to, approximately $31

million.

           3.    If   any of the property described above, as a result of any act or omission by a

defendant: cannot be located upon the exercise ofdue diligence; has been transferred or sold to, or

deposited with, a third parfy; has been placed beyond the jwisdiction of the court; has been

substantially diminished in value; or has been commingled with other property which cannot be

divided without difficulty, the United States of America shall be entitled to forfeiture of substitute

property, pursuant to Title 21, United States Code, Section 853Gr).




                                                 65
  Case: 1:19-cr-00226 Document #: 250 Filed: 02/25/21 Page 66 of 67 PageID #:1555




                              FORF'EITURE, ALLEGATION TWO

        The SPECIAL MAY 2019 GRAND ruRY turther alleges:

        1.      Upon conviction of an offense in violation of Title 18, United States Code, Sections

656 and 1005, as alleged in this Third Superseding Indictment, each defendant shall forfeit to the

United States of America any and all right, title, and interest each may have in any property, real

and personal, which constitutes and is derived from proceeds the defendant obtained directly or

indirectly as the result of the offense, as provided in Title 18, United States Code, Section

e82(a)(2).

       2.      If   any of the properly described above, as a result of any act or omission by a

defendant: cannot be located upon the exercise ofdue diligence; has been transferred or sold to, or

deposited with, a third party; has been placed beyond the jurisdiction       of the court; has   been

substantially diminished in value; or has been commingled with other properly which cannot be

divided without difficulty, the United States of America shall be entitled to forfeiture of substitute

property, pursuant to Title 2l,IJnlted,States Code, Section 853Gr).




                                                 66
  Case: 1:19-cr-00226 Document #: 250 Filed: 02/25/21 Page 67 of 67 PageID #:1556




                              FORFEITURE ALLEGATION THRE,E

        The SPECIAL MAY 2019 GRAND ruRY turther alleges:

        1   .   Upon conviction of an offense in violation of Title 1 8, United States Code, Section

152(l) and (8), as alleged in this Third Superseding Indictment, each defendant shall forfeit to the

United States of America any and all right, title, and interest each may have in any property, real

and personal, which constitutes and is derived from proceeds traceable to the offense, as provided

in Title 18, United States Code, Section 981(a)(l)(C).

       2.       The property to be forfeited includes, but is not limited to, approximately $567,200

and any interest in the Sea Ray 420 Sundancer boat named "Expelliarmus."

       3.       If   any of the property described above, as a result of any act or omission by      a


defendant: cannot be located upon the exercise ofdue diligence; has been transferred or sold to, or

deposited with, a third party; has been placed beyond the jurisdiction of the court; has been

substantially diminished in value; or has been commingled with other properly which cannot be

divided without difficulty, the United States of America shall be entitled to forfeiture of substitute

property, pursuant to Title 21, United States Code, Section 853G).




                                                      A TRUE BILL:



                                                      FOREPERSON

UNITED STATES ATTORNEY




                                                 67
